Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.317 Page 1 of 15
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    1                        UNITED STATES DISTRICT COURT

    2                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA

    3

    4   UNITED STATES OF AMERICA,               )
                                                )
    5         Plaintiff,                        )   No. 18-CR-3739-WQH
                                                )
    6              v.                           )   December 27, 2019
                                                )
    7   MANUEL AGUSTIN RODRIGUEZ-SERNA,         )   1:29 p.m.
                                                )
    8         Defendant.                        )   San Diego, California
        _________________________________       )
    9

  10
                          TRANSCRIPT OF SENTENCING HEARING
  11                    BEFORE THE HONORABLE WILLIAM Q. HAYES
                            UNITED STATES DISTRICT JUDGE
  12
        APPEARANCES:
  13
        For the Plaintiff:          United States Attorney's Office
  14                                By: MEGHAN HEESCH, ESQ.
                                    880 Front Street, Room 6293
  15                                San Diego, California 92101

  16    For the Defendant:          Law Office of Alfred S. Donau III
                                    By: ALFRED S. DONAU, ESQ.
  17                                3505 N. Campbell Avenue, Suite 501
                                    Tucson, Arizona 85719
  18
        Court Interpreter:          Dan DeCoursey
  19                                Certified Spanish Interpreter

  20

  21

  22    Court Reporter:             Melinda S. Setterman, RPR, CRR
                                    District Court Clerk's Office
  23                                333 West Broadway, Suite 420
                                    San Diego, California, 92101
  24                                melinda_setterman@casd.uscourts.gov

  25    Reported by Stenotype, Transcribed by Computer
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.318 Page 2 of 15
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         1       SAN DIEGO, CALIFORNIA, DECEMBER 27, 2019, 1:29 P.M.

         2                              * * * *

         3             THE CLERK:    Number 1, 18-CR-3739, United States of

         4   America vs Manuel Agustin Rodriguez-Serna, set for a sentence

01:29    5   with a presentence report.

         6             MS. HEESCH:   Meghan Heesch on behalf of the United

         7   States.

         8             THE COURT:    Good morning.

         9             MR. DONAU:    Good afternoon, Your Honor.     Skip Donau

01:30   10   appearing for Mr. Manuel Rodriguez-Serna, who is in custody.

        11             THE COURT:    Good afternoon.

        12             MR. DONAU:    While we're waiting, Your Honor, let me

        13   introduce John Brown, my investigator, who I asked to be in the

        14   courtroom.

01:31   15             THE COURT:    All right.   Thank you.

        16       (Defendant present.)

        17             THE COURT:    All right.   Counsel, your client is

        18   present; is that correct?

        19             MR. DONAU:    Yes, Your Honor.

01:31   20             THE COURT:    All right.   This is a continuation of the

        21   sentencing that we started on December 23rd of 2019.

        22             As I indicated on that date, I reviewed the

        23   presentence report, the defense objections to the presentence

        24   report, the addendum to the presentence report, the defense

01:31   25   sentencing summary chart, the defendant's social history, the
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.319 Page 3 of 15
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         1   government's amended sentencing memo, and the defendant's

         2   sentencing memo as well.

         3             Counsel, you've had an opportunity to review and

         4   discuss the presentence report with your client?

01:32    5             MR. DONAU:   We have discussed it with him, Your Honor.

         6             THE COURT:   All right.    And as I indicated, I am not

         7   inclined to impose the plus three pursuant to role recommended

         8   by probation pursuant to Section 3B1.1B, which I certainly

         9   understand why they have suggested it, but I am inclined to

01:32   10   follow the recommendations of both sides which has a guideline

        11   range of 168 to 210 months prior to any departures.

        12             May I see counsel at sidebar briefly.

        13       (Sidebar proceedings took place.)

        14             THE COURT:   All right.    Counsel, any comments you

01:35   15   would like to make with respect to the sentence that I should

        16   impose?   Anything else?   Anything else you like to say?          You

        17   can repeat the comments you made on the 23rd.       Anything you

        18   like to say, you are welcome to say now.

        19             MR. DONAU:   Thank you, Your Honor, and I don't mean to

01:35   20   be repetitive, but I think that the record conclusively

        21   demonstrates that for the vast majority of

        22   Mr. Rodriguez-Serna's life he was a law-abiding citizen who was

        23   well respected in the community and raised a doctor, a lawyer,

        24   and a civil engineer, which is unheard of and to be commended

01:35   25   in any culture in any place in the world, and he got that -- he
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.320 Page 4 of 15
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         1   got involved in a business venture that went south.        That debt

         2   occurred.    We established conclusively the debt, and rather

         3   than welch on it or go into bankruptcy, he elected to take this

         4   very poor decision to pay off the debt, which he did.

01:35    5               He started off as go-fer and ended up as carrier of

         6   the football, which is a euphemism for a telephone.        He has no

         7   prior record.    He has no drug problems.    He has a loving

         8   family.

         9               He is going to -- whatever sentence you impose, he is

01:36   10   going to probably be at 60-plus by the time he gets out, even

        11   though he has for the vast majority of his life contributed to

        12   society.

        13               So I would ask you to take into consideration his life

        14   work, take into consideration the good that he's done during

01:36   15   his life, take into consideration the super-acceptance of

        16   responsibility and any other factors that the Court deems

        17   appropriate under 3553.

        18               THE COURT:   Thank you.

        19               Any comments you would like to make, sir?

01:36   20               THE DEFENDANT:   Yes, sir.   Sir, as I said in the

        21   letter, if you walk along the river, then you get your feet

        22   dirty.    I thought the crime wouldn't catch up to me, but it

        23   did.   I understand now that I did a lot of damage with this --

        24   with this crime.

01:37   25               I accept responsibility for the crime that I
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.321 Page 5 of 15
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         1   committed.   It destroys families and persons, and then I

         2   destroyed my family right now.

         3            The time that I will do in jail, I won't be able to

         4   see my mother, who is 92 years old, and I cannot see my wife

01:37    5   here anymore.   They took away her passport and visa, my wife's.

         6            I accept responsibility for the crimes.        I want to

         7   apologize to the United States government for the crime that I

         8   committed.   I also apologize to the United States government

         9   for the crime that I committed and that I can help with their

01:38   10   investigations -- I cannot help with the investigations because

        11   I would put my family in danger and mine as well.

        12            And I am in your hands, sir, and also the United

        13   States laws.    Thank you very much.

        14            THE COURT:    Thank you, sir.

01:38   15            From the government.

        16            MS. HEESCH:    Your Honor, the wiretap evidence in this

        17   case has shown that this defendant's role was a broker of

        18   cocaine transactions at the highest levels, hundreds of

        19   kilograms of cocaine, and I would just refer the Court to

01:38   20   paragraphs two and three of the factual basis in the plea

        21   agreement.

        22            And one other factor, Your Honor, that other

        23   defendants in this case have gotten the benefit of expeditious

        24   resolution, usually another two level departure.        In this case

01:38   25   we had extensive wiretap litigation, so this defendant is not
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.322 Page 6 of 15
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         1   accorded that benefit.    We're recommending a 180 months.         It is

         2   the middle of the range.    I believe that is the lowest sentence

         3   given this level of conduct to deter others and to not create

         4   an unwarranted disparity.

01:39    5              THE COURT:   All right.   Thank you.

         6              In this instance the defendant did plead guilty to

         7   violations of Title 21, United States Code, Section 952, 960,

         8   and 963.

         9              As set forth in the plea agreement, beginning no later

01:39   10   than on or about 2014 and continuing until August 28th, 2018,

        11   Defendant Rodriguez-Serna was a member of narcotics trafficking

        12   organization based in Guadalajara, Mexico, which participated

        13   in the transportation of cocaine from Guadalajara to Mexico and

        14   coordinated with additional coconspirators who imported cocaine

01:39   15   from Columbia and Venezuela to Costa Rica and Guatemala by

        16   aircraft and vessels.

        17              Rodriguez admits that he was a trusted member of the

        18   organization and was responsible for a number of aspects of the

        19   organization's operations.     Specifically, Defendant Rodriguez

01:40   20   admits that he entered into an agreement with other members of

        21   the organization to coordinate organizing the transportation

        22   and distribution of large quantities of cocaine for importation

        23   into Mexico.

        24              Rodriguez admits that he and his coconspirators had

01:40   25   reason to believe that the tonnage quantities of cocaine was
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.323 Page 7 of 15
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         1   destined for the United States.     For example, on October 8th,

         2   2017, Rodriguez participated in the coordination of a delivery

         3   of 419 kilograms of cocaine, a Schedule II controlled

         4   substance, from Venezuela to Guatemala via aircraft, which the

01:40    5   defendant's organization intended to import into Mexico.           The

         6   cocaine was seized in Guatemala following a plane crash.

         7            With respect to the Advisory Sentencing Guidelines,

         8   the Court finds that the base offense level based upon

         9   450 kilograms of cocaine or more starts at a 38.        There is a

01:41   10   plus two pursuant to Section 2D1.1B3, use of aircraft; a minus

        11   two for safety valve, pursuant to Section 2D1.1(b)(7) and

        12   Section 5C1.2.

        13            The adjusted offense level is 38.       There is a

        14   three-level reduction for acceptance of responsibility.            The

01:41   15   total offense level is 35.

        16            Mr. Rodriguez has no criminal history points which

        17   places him in Criminal History Category 1.       The guideline range

        18   is 168 to 210 months.

        19            The nature and circumstances of the offense are

01:41   20   aggravated based upon the nature of the substance, the amount

        21   of it, and the defendant's participation.       He doesn't in my

        22   view qualify for the role as a manager, and neither side

        23   suggests that he is entitled to a minor role.

        24            You know, his participation has been, by defense

01:41   25   counsel, analogized to the carrying of a football to carrying
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.324 Page 8 of 15
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         1   the phone, and I find it is more than that, at least in the

         2   plea agreement.   It is more than that -- at least the words in

         3   this plea agreement say.

         4            I find that he may have started out that he didn't

01:42    5   think that he was going to be significantly involved, but

         6   certainly based on the facts of the plea agreement which he

         7   signed, I find it to be that he was involved, not to the extent

         8   that it is an aggravating role but certainly far from a minor

         9   role.

01:42   10            His history and characteristics, prior to this event

        11   all positive.    He is approximately 53 years of age.       He was

        12   involved in this offense probably for a few years.

        13            Is that the government's assessment maybe for two

        14   years or so, two or three?

01:42   15            MS. HEESCH:    About four years, Your Honor.

        16            THE COURT:    So maybe four, and we could quibble

        17   whether it is four or three, but it does appear that he was

        18   probably 50 before he got involved in this, maybe 49.

        19            MR. DONAU:    49, 50.

01:42   20            THE COURT:    Before he became involved in this, and,

        21   you know, prior to that it is, you know, sort of, you know, a

        22   success story.    He had very humble means.     He was an

        23   entrepreneur.    He started and ran with a number of successful

        24   businesses.   He was by anybody's estimation well thought of as

01:43   25   a parent, spouse, father, all those things that society puts
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.325 Page 9 of 15
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         1   great weight on.   He was very good at all of those things.

         2            And then, you know, based on this debt that he had, he

         3   got involved in this activity, and not unlike a lot of others

         4   who get involved, they have some financial desperation.            For

01:43    5   some, they are much younger and they get involved in it based

         6   on financial necessity, and some others, it is just their

         7   profession.   They start fairly young.     That is what they do.

         8   They are in the drug business, and they are in it for a long

         9   period of time.

01:43   10            And your client he is not in that category.         He is

        11   somebody who got into it relatively, you know, late in life

        12   with a very established employment record that was, you know,

        13   fairly distinguished, and so it is hard -- it is a little

        14   unusual to see somebody whose led a crime-free life get

01:44   15   involved in something so late in life, you know, on such a

        16   scale because it wasn't like, you know, he was asked to, you

        17   know, give some forged checks or something, you know.

        18            It was -- he used the same skills that he's had to run

        19   his other successful business, he did this, and so I don't

01:44   20   doubt that he is very, you know -- that he regrets it and

        21   wishes he could, you know, go back in history, and any time he

        22   receives is not -- you know, it is difficult.

        23            I think the older people get, you know, they

        24   understand they don't have as much time as the people think

01:44   25   they have when they are much younger.
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.326 Page 10 of 15
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         1             He has no juvenile adjudications, no adult criminal

         2   convictions.

         3             The need for the sentence to reflect the seriousness

         4   of the offense, promote respect for the law, and to provide

01:45    5   just punishment.

         6             I am going to vary somewhat from the Advisory

         7   Sentencing Guidelines.    The bottom of the guideline range is

         8   168 months.    I am going to vary some, and it is really just

         9   based upon sort of a crime-free life and something that this

01:45   10   occurred very late in life.     That is really the primary basis

        11   for it -- certainly, the only basis because I think his

        12   involvement was, you know, fairly significant.

        13             I am going to impose a sentence of 130 months.        It is

        14   a 38-month departure from the bottom end of the guidelines.         I

01:45   15   recognize it is significantly less than what the government's

        16   requesting but more than what the defense is requesting, but I

        17   do think that it takes into account that.       He led a crime-free

        18   life for an extended period of time, and this is out of

        19   character for him, appears to be out of character for him.

01:46   20             And if he didn't have that, the sentence would be much

        21   higher.   It would be closer to what the government asks, but it

        22   is -- and he does get, you know, a fair amount of, you know,

        23   benefit of the doubt that he lived a crime-free life for a long

        24   period of time, and I am sure that he may have been tempted to

01:46   25   engage in other criminal activities and never succumbed until
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.327 Page 11 of 15
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         1   late, and obviously that is the downside.

         2             And, you know, from what his admitted facts were in

         3   the plea agreement, you know, his involvement was, you know,

         4   not insignificant, and as, you know, I am sure counsel is

01:46    5   aware, most of the people that come before the Court are people

         6   at the bottom end of the, you know, the chain here, and they

         7   are, you know -- every Monday there is a host of people that

         8   are 18 and 19 years old; their judgment is horrible; and they

         9   are driving a car from Mexico into the United States, and they

01:46   10   have the cocaine in it or they have meth in it.

        11             And those guidelines are high too, very high.        And

        12   often they receive, you know, even with variances, two and

        13   three and four, in some places they receive five and six years,

        14   and they are at the absolute bottom.

01:47   15             And it is not that often -- I mean it happens, but it

        16   is not that often that we see somebody that is -- that is

        17   Mr. Rodriguez's role where most of the criminal acts occurred

        18   in a foreign country and involved other foreign countries.

        19   Often they are not here.     They are never here.     It is the

01:47   20   people at the bottom that are taking all the risk and get for

        21   what they did fairly significant sentences.

        22             So when we compare this gentleman with the people at

        23   the very bottom, one could -- I think there could be a fair

        24   argument that the gap in the sentences should be bigger, that

01:47   25   the people at the bottom, when you compare with what
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.328 Page 12 of 15
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         1   Mr. Rodriguez is getting, Mr. Rodriguez's sentence should be

         2   higher.

         3               But having considered all the factors and, you know,

         4   the one that, you know, certainly counsel emphasized,

01:48    5   understandably so, is that he led a crime-free life for a long

         6   time, and that counts for something.

         7               And I also understand it is not easy to do the time,

         8   you know, at his age, and I think that his -- the likelihood of

         9   him re-offending is fairly small.      I think he understands -- he

01:48   10   is genuine.    I think he understands he made a mistake.       He

        11   wishes he hadn't done it.

        12               For some, you sentence them for a drug crime in their

        13   20s or 30s, and they come back and get right back into it, and

        14   I don't think that he will.     It is a fairly significant

01:48   15   variance.    I am sure from the government's perspective it is a

        16   significant variance.    From the defense it is not significant

        17   enough.   I understand that.

        18               But I keep going back to the main -- the thing that I

        19   found to be most persuasive in reading all the sentencing

01:48   20   materials was, you know, that he is somebody who had been

        21   successful and had been an entrepreneur and had done things

        22   legally and had been successful, raised a family and had been

        23   well thought of by many, many people, and I think this is out

        24   of character.

01:49   25               But I also agree -- well, the characterization I think
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.329 Page 13 of 15
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         1   in the plea agreement, which is the document that he signed

         2   under oath, I think that is the characterization of his

         3   involvement that I relied on, and that picture is somebody who

         4   was more than carrying a phone.      But I understand why the

01:49    5   argument was made.

         6             I have considered all the 3553 factors and will impose

         7   a sentence of 130 months.     Therefore, pursuant to Sentencing

         8   Reform Act of 1984, it is the judgment of this Court that the

         9   defendant is committed to the custody of Bureau of Prisons to

01:49   10   be imprisoned for a period of 130 months.

        11             Upon release from imprisonment, the defendant is

        12   placed on a five-year period of supervised release, subject to

        13   the standard conditions and in addition the following special

        14   condition:   If deported, excluded, or allowed to voluntarily

01:49   15   return to his country of origin, he not re-enter the United

        16   States illegally, and report to the probation officer within

        17   24 hours of any re-entry into the United States.

        18             Supervision is waived upon deportation, exclusion, or

        19   voluntary departure.

01:50   20             The Court does not impose a fine, finding the

        21   defendant does not have the financial ability to pay a fine.

        22             The Court does impose the required $100 mandatory

        23   special penalty assessment.

        24             Counsel, would you please come forward and obtain a

01:50   25   copy of the terms of supervised release, and please provide a
    Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.330 Page 14 of 15
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         1   copy of those to your client.

         2             MR. DONAU:    Thank you.

         3             THE COURT:    I'll recommend that the defendant be

         4   designated to a facility in the western region as close to

01:50    5   Southern California as possible.

         6             Is that your request?

         7             MR. DONAU:    That is my request, Your Honor.

         8             THE COURT:    All right.    As close to Southern

         9   California as possible.

01:50   10             And in light of the sentence, counsel, has your client

        11   waived his right to appeal the sentence?

        12             MR. DONAU:    He does, Your Honor.

        13             THE COURT:    Anything further from the government?

        14             MS. HEESCH:    Yes, Your Honor.    The Court signed a

01:50   15   preliminary forfeiture order.     Would you also include that in

        16   the J and C and pronounce it orally?

        17             THE COURT:    Yes.   I did sign the order of preliminary

        18   forfeiture, and we will note that -- that we'll note that a

        19   forfeiture order has been signed in the judgment.

01:50   20             Anything else?

        21             MR. DONAU:    No, Your Honor.    May we be excused?

        22             THE COURT:    Yes.   Thank you, counsel.

        23             MS. HEESCH:    Thank you.

        24       (Proceedings concluded at 1:50 p.m.)

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Case 3:18-cr-03739-WQH Document 84 Filed 01/17/20 PageID.331 Page 15 of 15
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    2                          C-E-R-T-I-F-I-C-A-T-I-O-N

    3

    4              I hereby certify that I am a duly appointed, qualified

    5   and acting official Court Reporter for the United States

    6   District Court; that the foregoing is a true and correct

    7   transcript of the proceedings had in the aforementioned cause;

    8   that said transcript is a true and correct transcription of my

    9   stenographic notes; and that the format used herein complies

   10   with the rules and requirements of the United States Judicial

   11   Conference.

   12              DATED:   January 17, 2020, at San Diego, California.

   13
                                           /s/ Melinda S. Setterman
   14                                      _________________________________
                                           Melinda S. Setterman,
   15                                      Registered Professional Reporter
                                           Certified Realtime Reporter
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